
820 So.2d 1091 (2002)
D.T., Appellant,
v.
STATE of Florida, Appellee.
No. 4D01-2677.
District Court of Appeal of Florida, Fourth District.
July 17, 2002.
*1092 Carey Haughwout, Public Defender, and Ian Seldin, Assistant Public Defender, West Palm Beach, for appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and David M. Schultz, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
A juvenile appeals from disposition orders, which committed her to a level 8, high risk residential treatment program on first degree misdemeanor charges. She argues, and the State agrees, that the disposition orders should be corrected to limit the term of her commitment to an indeterminate length of time not to exceed one year, which is the maximum term an adult could serve for the same offense. See § 985.231, Fla. Stat. (2001); L.K. v. State, 729 So.2d 1011 (Fla. 4th DCA 1999). We agree.
In addition, the juvenile argues, and the State agrees, that she must be given credit for time served in juvenile detention awaiting placement. However, that credit should be applied from the end of the commitment period as the length of the commitment is indeterminate and only limited to the maximum term that could be served by an adult.
The case is reversed and remanded for correction of the disposition orders in accordance with this opinion.
STEVENSON, SHAHOOD and MAY, JJ., concur.
